Case 2:18-cv-02128-.]C.] Document 1 Filed 05/18/18 Page 1 of 9

KANE, PUGH, KNOELL, TROY & KRAMER LLP

BY: PAUL C. TROY, ESQUIRE

ATTORNEY I.D. NO. 60875

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510 SWEDE STREET GREYHOUND LINES, fNC.
NORRISTOWN, PA 19401

(6l()) 275-2000

 

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

THI TICH HUYNH : NO.
v. : CIVIL ACTION

GREYHOUND LINES, H\IC. AND
JOHN DOE

 

NOTICE OF REMOVAL OF DEFENDANT

Defendant, Greyhound Lines, Inc., through their undersigned attorney, gives notice of the
removal of the above captioned action to this Court of a State of Civil Action pending in the
Court of Common Pleas of Philadelphia County, Pennsylvania, and in support thereof aver as
follows:

l. A civil action has been brought against defendants by the plaintiff in the Court of
Common Pleas of Philadelphia County at No. 180400263. A copy of that Complaint is attached
hereto as Exhibit “A”.

2. The Statc Court Where the action Was originally filed is located in Philadelphia
County, Pennsylvania, Which is embraced Within this judicial district.

3. The plaintiff is, at the time of the filing of this action, a citizen of the
Commonwealth of Pennsylvania.

4. Defendant, Greyhound Lines, Inc. is a Delaware corporation With corporate

headquarters located at 222l E. Lamar Blvd.; Suite 50(), Arlington, Texas.

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5. In her Complaint, Plaintiff alleges she suffered serious injuries of the personal
nature, including injuries to her head, neck and knee resulting in headaches, right Wrist pain,
neck and back pain and left hip pain. As such, her action is for an amount in controversy in
excess of statutory jurisdictional limit, together With costs of this action and damages for delay.

6. A Complaint in this action Was received by Defendant, Greyhound Lines, Inc. A
copy of the Complaint is attached as EXhibit “A”. No other process, pleadings or Orders have
been served upon the defendants

7. The statutory requirements having been met, the state action is properly removed

to United States District Court for the Eastern District of Pennsylvania.

Respectfully Submitted:

KANE, PUGH, KNOELL, TROY & KRAMER, LLP

alia

PAUL C. Tl{§l) Y, ESQUIRE
DONALDJ. BELFIE, JR., ESQUIRE
Attorneys for Defendants

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EXHIBIT “A”

Case 2:18-cv-02128-.]C.] Document 1 Filed 05/18/18 Page 4 of 9

DEFINO l,AW ASSOClATllS, PC
BY: Vincent N. Melchiorre, lisquire
ldentification No: 40342

2541 South Broad Strcet
Pliiladelphia_, PA l9148

  
  

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Attorney for Plain"s:

 

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v .

GRlEYll()l,.lNl} LlNES, et al

 

 

PHILADLEPHIA COUNTY

NO: 180400263

 

 

NOTICE

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You have been sued in court lfyou Wish to defend
against the claims set-forth in the following pages,
you must take action within twenty (20) days after
this Complaint and Notice are served, by entering a
written appearance personally or by attorney and
filing in Writing with the court your defenses or
objections to the claims set forth against you. You
are warned that it`you fail to do so the case may
proceed without you and a judgment may be entered
against you by the court without further notice for any
money claimed in the Complaint or for any other
claim or relief requested by the Plaintit`f. You may
lose money or property or other rights important to
you.

Y(_)U SHOUL]) 'I`AKE THlS PAPER TO YOUR
LAWYER AT ONCE, lF Y()U DO NOT HAVE A
LAWYER OR CANN()'I` A`FFOR,[) ONE, GO TC
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(; E'l` LEGAL H.ELP.

xJAWYF..R REFERRAL AND INFo. sEerCEs
1101 MARkn'r s'rREET, ii'rH FLooR
i>HILADE.LPr~nA, PA 19107-2911
<215) 238»1701

AVISO

L,e ban demandado a usted en la corte. Si usted
quiere defenderse de estas demandas expuestas en las
paginas siguientes, usted tiene veinte (20) dias de
plaza al partir de la fecha de la demanda y la
notificacion. Hace falta a sentar una comparencia
escrita o en persona o con im abogado y entregar a la
corte en forma escrita sus defensas o sus objeciones a
las demandas en contra de su persona._ Sea avisado
quo si usted no se det]ende, la cone tornara medidas y
puede continuar la demanda en contra suya sin previo
aviso o notificacion. Ademas, la cortc puede decidir
a favor del demandante y require que listed cumpla
con todas las provisiones de esta demanda. Usted
puede perder dinero o sus propiedades u otros
derechos importantes para usted.

LLEVF. ESTATE DEMANDA A UN ABOGADO
IMMED]ATAMENTE, Sl N() TIENE
ABOGADO 0 Sl NO TIENE EL D`INERO
SUFICI:ENTE DE 'PAGAR TAL S.ERV!C(),
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D`IRECC!GN SE ENCUENTRA ESCRITA
ABAJO PARA AVERIGUAR DONDE SE
PUEDE CONSEGUIR ASISTENC{A LEGAL.

Servicio de Referencia e Informacion Legal
1101 .MARKET STREE'I`, ll'I`H FLOOR
FILA_DELFIA, PA 19107-2911
(215) 238~170]

Case lD: 180400263

Case 2:18-cv-02128-.]C.] Document 1 Filed 05/18/18 Page 5 of 9

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Philadelphia PA l 9 l 48

 

i2 l 5)551~9099 Al`TORNEY F()R. PLAIN'I`IFF
'l`l~ll TlCH l~ll,.lYNH COURT OF COl\/ll\/ION PLEAS
PHILADELPHIA COUNTY
Plaintii"f
v. APRIL TERM 20l 8

GR.EYl~l()l_lND LINES and

J()lil\l D()l.£ NO: 0263

Defendants

 

 

 

 

COMPLAINT IN CIVIL ACTION

l. Plaintiff'l`lii 'l`icli l~luyn is an adult individual residing at the address captioned
above, and at all times relevant hereto Was a passenger on the Greyhound bus.
2. Defendant Greyhound Lines is a regional transportation authority empowered to
act as a common carrier in and about the public highways of the City of Philadelphia in the
Coinrnonwealth of Peruisylvania, With its registered office and principal place of business at
2221 Ll. Lamar Blvd., Suite 500, Arlington, Texas_, and at all times material hereto did own,
possess inaintain, lease, and/or control, individually and/or throuin an authorized agent acting
on its behalf the Greyhound bus involved in this incident

3. ()n A_pril 9, 20 l 8 between 7100 ~ 8:(){) p.ni., Plaintiff Was preparing to discnibark
from the Greyhound bus on which she was traveling from Atlantic City to Philadelphia
When the bus driver unexpectedly and without Warning slammed on his brakes

4. Plainti.ffs Was thrown about and fell down the front steps of the bus head first,
sustaining injuries to her head, neck and knee and Was transported via EMS to 'l`liomas Jefferson
l_§nivei'sity lelospital firnergency Departrnent.

5. Plaiiitifi" suffered serious personal injuries as a result, as set forth in further dctail;

lieadac.lies, right wrist pain_, neck and back pain and left hip pain.

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6. Plaintiff was in no way contributorily negligent with regard to the accident set
forth above;

7. Plaintil`t` enjoys full tort protection and may recover for both economic and
noneconomic damages pursuant to 75 Pa.C.S. § l705(d)(3), since she was injured while an
occupant of a motor vehicle other than a private passenger motor vehicle;

8. At all times relevant to the accident described above, the driver of Greyhound bus
had a clear and unobstructed view of the passengers;

9. At all times relevant to the accident described above, Defendant Greyhound Was
acting by and through the driver of the bus number and as such driver was Defendant’s agent
and/or employee at the time and was acting within the scope of his employment;

lO. As such, Defendant is liable for the acts and/or omissions of the driver of the

Greyhound bus through the doctrine of respondeat superior;

Count I ~ Negligence
Tich Thi Hurnk v. Grerhound Lines
ll. Plaintiff hereby incorporates the averments of paragraphs l through ll as though
same were set forth at length herein;
12. Det`endant's negligence consisted of the following;
a. l~`ailurc to properly train its driver employee regarding the safe operation of the
Greyhound bus;

b. Allowing its driver employee to operate a large public transit passenger vehicle,
without adequate knowledge and/or experience to ensure its safe operation;

l3. Such negligence was the direct and proximate cause of the accident;

l4. Due to said aecident, Plaintift` suffered serious bodily inj ury;

15. Plaintiff has had to undergo extensive medical treatment for these injuries, and
may continue to require treatment in the future, all to her great suffering and loss;

16. Plaintiffs medical treatment has caused her significant financial expense, and may

continue to do so in the future, all to her great suffering and loss;

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Case 2:18-cv-02128-.]C.] Document 1 Filed 05/18/18 Page 7 of 9

l7. Plaintiffs injuries have interfered and continue to interfere with her activities of
daily living and her ability to enjoy her lifc, all to her great suffering and loss.
WHEREFORE, Plaintiff respectfully requests that this Honorable Court grant judgment

in her favor and against Defendant in an amount in excess of Fifty~ThouSand Dollars

($50,000.00).

DEFINO LAW ASSOCIATES, PC

Vineent N. Melehiorre
Attorney for Plaintiff

Czise ID: 1804002()3

Case 2:18-cv-02128-.]C.] Document 1 Filed 05/18/18 Page 8 of 9

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CERTIFICATE OF SERVICE
I, Paul C. Troy, certify that on this date l Served a true and correct copy of the Notice of
Removal, Defendant’s Disclosure Statement, my Entry of Appearance and Demand for Trial by
Jury in the above-captioned matter on all counsel of record and unrepresented parties via U.S.
First Class l\/Iail, postage prepaid, as folloWS:
Vincent N. Melchiorre, Esquire
De Fino LaW Associates, P.C.

2541 South Board Street
Philadelphia, PA 19148

KANE, PUGH, KNOELL, TROY & KRAMER, LLP

Date: 51\`1!,5/ By: @;M

PAUL C. TRCg\/, ESQUIRE
DONALD J. ELFIE, JR., ESQUIRE

Attorneys for Defendant, Greyhound Lines, Inc.

Case 2:18-cv-02128-.]C.] Document 1 Filed 05/18/18 Page 9 of 9

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DEFENDANT’S CERTIFICATE OF FILING OF
COPY ()F NOTICE OF REMOVAL WITH THE STATE COURT

l, PAUL C. TROY, ESQUIRE, counsel for Defendant, Greyhound Lines, Inc., hereby
certifies that a certified copy of Defendant’s Notice of Removal Will be filed With the
Prothonotary of the Court of Common Pleas of Philadelphia County, Pennsylvania, Wherein is

pending the State Court action Which is the subject of the removal.

KANE, PUGH, KNOELL, TROY & KRAMER, LLP

Date:M_ By: GA(M

PAUL`“C. TROIQESQUIRE
DONALD J. BELFIE, JR., ESQUIRE
Attorneys for Defendant, Greyhound Lines, lnc.

